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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

IN RE:
Case No. 12-10321 MER

PEAK ‘N PRAIRIE LANDSCAPE &
RECLAMATION INC.

EIN: XX-XXXXXXX Chapter ll

Debtor.

PLAN ()F REORGANIZATION DATED OCTOBER 31 , 2012

The Peak ‘N Prairie Landscape & Reclamation, Inc., Debtor and Debtor-in-
Possession hereby proposes, pursuant t0 Chapter ll, Title ll of the United States Code,
the following Plan of Reorganization.

ARTICLE I
INTRODUCTION

Peak ‘N Prairie Landscape & Reclamation, lnc. (“Debtor”) is a Colorado
corporation that is engaged in business as a commercial and residential landscaping
company. The Debtor’s principal place of business is at l 1965 Tower Road, Commerce
City, Colorado.

This Plan provides for the reorganization of the Debtor under Chapter ll of the
Bankruptcy Code. Pursuant to the Plan, the Debtor shall restructure its debts and
obligations and continue to operate in the ordinary course of business. A more
complete history of the Debtor, its operations, an explanation of this Plan, and a
description of the Debtor’s financial condition and future business activity is contained
in the Disclosure Stateinent Which accompanies this Plan. Reference should be made to
the Disclosure Statement by all creditors and parties Who intend to cast a ballot for or
against this Plan.

ARTICLE II
DEFINITI()NS
2.0l - Adrninistrative Claim shall mean a Claim for payment of an

administrative expense of a kind specified in § 503(b) or lll4(e)(2) of the Bankruptcy

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Code and entitled to priority pursuant to § 507(a)(2) of the Bankruptcy Code, including,
but not limited to: (a) the actual, necessary costs and expenses, incurred after the
Petition Date, of preserving the estate and operating the business of the Debtor,
including wages, salaries, or commissions for services rendered after the
commencement of the Chapter ll Case; (b) Professional Fee Claims; (c) all fees and
charges assessed against the estates under 28 U.S.C. § 1930; and (d) all Allowed Claims
that are entitled to be treated as Adininistrative Claims pursuant to a Final Order of the
Bankruptcy Court under § 546(c)(2)(A) of the Bankruptcy Code.

2.02 - Allowed Claim shall mean a claim in respect of which a Proof of Claim
has been filed with the Court within the applicable time period of limitation fixed by
Court Order in this case or scheduled in the list of creditors prepared and filed with the
Court pursuant to Bankruptcy Rule l007(b) and not listed as disputed, contingent or
unliquidated as to amount, in either case as to which no timely objection to the
allowance thereof has been filed pursuant to Bankruptcy Rules 3001 and 3007 or as to
Which any such objection has been determined by a Final Order.

2.03 ~ Allowed Secured Claim Shall mean an allowed claim secured by a lien,
security interest or other charge against or interest in property in which the Debtor has
an interest, or which is subject to setoff under § 553 of the Code, to the extent the value
(determined in accordance with § 506(a) of the Code) of the interest of the holder of
any such allowed claim and the Debtor’s interest in such property or to the extent of the
amount subject to such setoff as the case may be.

2.04 - Avoidance Actions means the Debtor’s interest in any and all Claims,
rights and causes of action which have been or may be commenced by or on behalf of
the Debtor to avoid and recover any transfers of property determined to be preferential,
fraudulent or otherwise avoidable pursuant to §§ 544, 545, 547, 548, 549, 550 or 553 of
the Bankruptcy Code, or under any other applicable law, or otherwise subject to
equitable subordination under § 510 of the Bankruptcy Code, regardless of whether or
not such actions have been commenced prior to the Effective Date.

2.05 ~ M shall mean any right to payment, or right to any equitable remedy
for breach of performance if such breach gives rise to the right to payment, against the

Debtor in existence on or as of the Petition Date, whether or not such right to payment

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or right to an equitable remedy is reduced to judgment, liquidated, unliquidated, fixed,
contingent, matured, unmatured, disputed, undisputed, legal, secured or unsecured.

2.06 ~ _C_la_s§ shall mean any Class into which Allowed Claims are classified
pursuant to Article lII.

2.07- Class l, 2, 3, 4, 5 and 6 Claims and Interests shall mean the Allowed
Claims and Interests so classified in Article HI.

2.08 - _C_o_d_e_ shall mean the Bankruptcy Code, ll U.S.C. § 101 et Seq. and any

amendments thereof.
2.9 - Confirmation Date shall mean the date upon which the Order of

Confirmation is entered by the Court. '

2.10 - QM shall mean the United States Bankruptcy Court for the District of
Colorado in which the Debtor’s Chapter ll case is pending, pursuant to which this Plan
is proposed, and any Court having competent jurisdiction to hear appeal or certiorari
proceedings therefrom.

2.ll ~ Mtgr shall mean the Debtor who is proposing this Chapter ll Plan.

2.12 - Disclosure Statement shall mean the Disclosure Statement Which is
approved by the Court according to ll U.S.C. § 1125 to be utilized to solicit votes for
this Plan.

2.13 ~ Disputed Claim means any Claim which is not an Allowed Claim,
including, without limitation, any Claim designated as disputed, contingent or
unliquidated in Debtor’s schedules filed in connection with this case, or any Claim
against which an objection to the allowance thereof has been interposed, and as to
which no Final Order has been entered.

2.14 v Effective Date of the Plan shall mean the date on which the Order of
Confirrnation is entered or if a stay is entered pending appeal of the Order of
Confirmation, the date on which the stay is no longer in effect.

2.l5 ~ Final Order shall mean an order or judgment of the Court which shall not
have been reversed, stayed, modified or amended and as to which (a) the time to appeal
from or to seek review, rehearing or certiorari shall have expired, and (b) no appeal or
petition for review, rehearing or certiorari is pending or if appealed shall have been

affirmed, or the appeal dismissed by the highest court to which such order was

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appealed, or if review, rehearing or certiorari was sought, such review, rehearing or
certiorari has been denied and no further hearing, appeal or petition for review,
rehearing or certiorari can be taken or granted or as to which any right to appeal or to
seek a review, rehearing or certiorari has been waived.

2.16 - lnterest shall mean any shareholder interest or any other instrument
evidencing any ownership interest in the Debtor and any option, warrant or right of any
nature, contractual or otherwise, to acquire a stock or other ownership interest in the
Debtor.

2.17 - Order of Confirmation shall mean the Order entered by the Court
confirming the Plan in accordance with the provisions of Chapter l l ofthe Code.

2.18 - Petition Date shall mean the date on which the voluntary Petition was filed
by the Debtor on January 9, 2012.

2.19 - §§ shall mean this Plan of Reorganization, as amended in accordance
with the terms hereof or modified in accordance with the Code, including all exhibits
and schedules attached hereto or referenced herein or therein.

2.20 - Priority Claim means any pre-petition Claim entitled to a priority in
payment under § 507(a) of the Code, but shall not include any Administrative Claim or
Tax Claim.

2.21 - Pro Rata shall mean the ratio of an Allowed Claim or lnterest in a
particular Class to the aggregate amount of all Allowed Claims or lnterests in that
Class.

2.22 - Professional Fees means the Administrative Claims for compensation and
reimbursement submitted pursuant to Section 330, 331 and 503(b) of the Code by a
Professional Person.

2.23 ~ Ru_les shall mean the Federal Rules of Bankruptcy Procedure and Local
Bankruptcy Rules for the District of Colorado as adopted by the Court.

2.24 - Tax Claim means any unsecured Claim of a governmental unit for taxes
entitled to priority pursuant to ll U.S.C. § 507(a)(8).

2.25 - Unclassified Priority Claims shall mean Claims pursuant to Section
507(a)(2) which are Administrative Claims allowed under Section 503(b) of the Code
and any fees and charges against the estate under Chapter 123 of Title 28 of the United

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States Code and shall further mean Allowed Unsecured Claims of governmental units to
the extent provided for in Section 507(a)(8) of the Code.

2.26 - Unsecured Creditor Account shall mean that segregated account
referenced and established pursuant to paragraph 7.l of this Plan, into which the Debtor
will deposit l% ofits monthly gross income for distribution to Class 5 creditors over
the thirty six (36) month life of this Plan. The account will be maintained at a
Federally insured banking institution and the account shall be maintained within the
insurance limit of the institution.

2.27 ~ Other Definitions. Unless the context otherwise requires, any capitalized
term used and not defined herein or elsewhere in the Plan but that is defined in the

Code or Rules shall have the meaning set forth therein.

ARTICLE III
DESIGNATION OF CLAIMS AND INTERESTS

The following is a designation of all classes of Claims and lnterests other than
those Claims of a kind specified in Sections 507(a)(1), 507(a)(2) or 507(a)(8) of the
Code.

Class l - All Allowed Unsecured Claims specified in Section 507(a)(4) or
507(a)(5) of the Code as having priority.

_C_la_s_s_g - The Allowed Secured Claim held by Wells Fargo Bank, N.A.

M - Ford Motor Credit (F750)

Q_la_s_s_i - Ford Motor Credit (F350)

M - The Allowed Unsecured Claims.

Class 6 - The lnterests held by pre-confirmation shareholders

ARTICLE IV
SPECIFICATION AND TREATMENT OF
UNCLASSIFIED PRIORITY CLAIMS
As provided in Section 1123(a)(l) of the Code, the Claims against the Debtor

covered in this Article lV are not classified. The holders of such Allowed Claims are

not entitled to vote on the Plan.

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4.1 - The holders of Allowed Claims ofthe type specified in Section 507(a)(2) of
the Code, Administrative Claims, shall receive cash equal to the allowed amount of
such Claim or a lesser amount or different treatment as may be acceptable and agreed to
by particular holders of such Claims. Such Claims shall be paid in full on the Effective
Date of the Plan, or treated as otherwise agreed to by the particular holders of such
Claims. Allowed Claims of the type specified in Section 507(a)(2) shall be paid prior
to Class 5 allowed unsecured claims, and may be paid from the Unsecured Creditor
Account. Section 507(a)(2) Administrative Claims that are allowed by the Court after
the Effective Date of the Plan shall be paid upon allowance.

4.2 - The Allowed Claims of a type specified in Section 507(a)(8) of the Code,
Tax Claims of governmental taxing authorities, shall be paid on the Effective Date of
the Plan or within sixty months of the petition date based on an amortization of the
claim over the balance of the sixty month term commencing on the effective date of the
Plan with interest at the appropriate rate set by applicable statute.

4.3 - The Debtor shall make all payments required to be paid to the U.S. Trustee
pursuant to 28 U.S.C. § 1930(a)(6) until the case is closed, converted, or dismissed. All
payments due to the U.S. Trustee pursuant to 28 U.S.C. § 1930(a)(6) shall be paid on
the Effective Date, and the U.S. Trustee shall thereafter be paid fees due on a quarterly

basis until the case is closed, converted, or dismissed.

ARTICLE V
SPECIFICATION AND TREATMENT OF CLASS 1 CLAIM
5.1 - The Allowed Priority Claims shall receive cash payments of a value, as of
the Effective Date of the Plan, equal to the allowed amount of such claims, unless such
claimants agree to different treatment all in accordance with Code §1129(a)(9)(B). The
Class 1 Claims for certain pre-petition wages and employee Claims are more

particularly described in Sections 507(a)(4) and 507(a)(5) ofthe Code.

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ARTICLE VI
SPECIFICATION AND TREATMENT OF SECURED CREDIT()R CLAIMS

6.1 - Wells Fargo Bank. Class 2 consists of the Allowed Secured Claim of
Wells Fargo Bank. Class 2 is impaired by the Plan. The Class 2 Secured Claim will be
treated as follows:

a. The Class 2 claim will be paid in accordance with the Stipulation
between the Debtor and the Class 2 claimant approved during the
course of the Chapter ll case. The Stipulation is attached to this
Plan as Exhibit C.

6.2 - Ford Motor Credit Company, LLC (F750). Class 3 consists of the
Allowed Secured Claim of Ford Motor Credit Company, LLC secured by the 2008 Ford
F-750. Class 3 is impaired by the Plan. The Class 3 Secured Claim will be treated and
paid as follows:

a. The Class 3 claim shall be fixed in an amount that is equal to the
amount outstanding on the underlying note as ofthe Petition Date.

b. The Class 3 claim will bear interest at the rate of: (i) 5.9% per
annum commencing on the Effective Date of the Plan; or (ii) if
Class 3 objects to such rate in their objection to confirmation of the
Plan, such rate will be determined by the Court as necessary to
satisfy the requirements of 11 U.S.C. §l l29(b) of the Code; or (iii)
such other rate as agreed by Debtor and the Class 5 claimant.

c. The monthly payment of the Class 3 claim shall be calculated based
upon a three (3) year amortization of the Claim and paid in equal
monthly installments or as may be agreed to by the parties or set by
the Court. The first monthly payment shall be due on the last day
of the first full month following the Effective Date.

d. The Class 3 claimant will retain all liens that secured its Claim as

of the Petition Date. The Debtor shall have the option to accelerate

payments without penalty.

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6.3 - Ford Motor Credit Company, LLC (F350). Class 4 consists of the
Allowed Secured Claim of Ford Motor Credit Company, LLC secured by the 2007 Ford
F-350. Class 4 is impaired by the Plan. The Class 4 Secured Claim will be paid in full
within 30 days ofthe Effective Date of the Plan.

The amount to be paid will be based on the amount due at the Petition Date, less
any payments made during the Chapter 11 case or if Class 4 objects to such amount in
their objection to confirmation of the Plan, such amount will be determined by the
Court as necessary to satisfy the requirements of 11 U.S.C. §1129(b) of the Code, or
such other amount as agreed by Debtor and the Class 4 claimant The Class 4 claimant

will retain all liens that secured its Claim as ofthe Petition Date.

ARTICLE VII
SPECIFICATION AND TREATMENT OF UNSECURED CLAIMS

7.1 - Class 5 consists of those unsecured creditors of the Debtor that hold
Allowed Claims that were either scheduled by the Debtor as undisputed, or subject to
timely filed proofs of claim to which the Debtor does not successfully object. Class 5
shall receive payment of their Allowed Claims as follows: Class 5 shall receive a pro-
rata distribution equal to 1% of the Debtor’s Gross Revenue generated over the three
year period commencing on the Effective Date of the Plan less the amount necessary to
pay any Unclassified Priority Claimant who agrees to accept deferred payment of its
claim (“Class 5 Distribution”). Commencing on the first full month following the
Confirmation Date, the Debtor shall at the conclusion of each month, set aside in a
segregated account, an amount equal to 1% of the preceding month’s Gross Revenue
(“Monthly Distribution Amount”). Each time three Monthly Distribution Amounts have
been set aside, the Debtor shall make any payment due to Unclassified Priority
Claimants and then the Class 5 Distribution will be made to Class 5 creditors on a pro-
rata basis. In addition, Class 5 shall receive a pro-rata distribution of the proceeds of
any Avoidance Action brought by the Debtor, less reasonable costs and attorneys fees
incurred by the Debtor to pursue the claim through litigation, settlement, and/or

collection. No interest will be paid on account of Class 5 claims.

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a. At any time after three Monthly Distribution Amounts have been set aside, the
Debtor may buy out or prepay the Class 5 claims by taking an average of the
three prior Monthly Distribution Amounts and multiplying the average Monthly
Distribution Amount by the number of months remaining under the Plan for
payment to Class 5. Once the pre-payment is made, no further payments shall be
due to Class 5.

b. The claims held by insiders of the Debtor have agreed to forgo the receipt of
any distribution under the Plan provided Class 5 otherwise accepts the Plan. In
the event that Class 5 rejects the Plan, Class 5 will have another option under

which they may elect to exchange their claims for newly issued shares of stock in

the Debtor pursuant to paragraph 9.13.

ARTICLE VIII
SPECIFICATION AND TREATMENT OF INTERESTS
8.1 - Class 6 includes the lnterests in the Debtor held by the pre-confirmation
shareholders Class 6 is unimpaired by this Plan. On the Effective Date of the Plan all
stock interests in the Debtor held by Class 6 shall be retained by Interest holders.
8.2 - In the event Class 5 votes to reject the Plan, this paragraph shall govern the
treatment of Class 6. In such event, all outstanding member interests shall be cancelled

on the Effective Date of the Plan. Class 6 shall neither receive'nor retain an interest in

the Debtor under the Plan.

ARTICLE IX
MEANS F()R THE PLAN'S EXECUTION

9.1 - Operation of Business. The Debtor shall be empowered to take such
action as may be necessary to perform its obligations under this Plan. The actions
include, but are not limited to, operation ofits existing business.

9.2 Unsecured Creditor Account. On the Effective Date of the Plan, the
Debtor shall open a separate interest bearing deposit account at a Federally-insured
commercial bank selected by the Debtor. The bank account will be maintained by the

Debtor as the Unsecured Creditor Account into which all payments made by the Debtor

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for the benefit of the Class 5 creditors will be made until the term of the Plan is
completed.

9.3 - Management Fees and Costs. The Debtor shall be entitled to compensate
its officers with reasonable fees for their services following confirmation of the Plan.
Funding for such fees will be derived from the operation ofthe Debtor’s business

9.4- Effectuating the Plan. On the Effective Date of the Plan, Peter Young,
shall be appointed as the agent of the Debtor pursuant to 11 U.S.C.§1142(b) for the
purpose of carrying out the terms of the Plan, and taking all actions deemed necessary
or convenient to consummating the terms of the Plan, including but not limited to
execution of documents

9.5 - Disputed Claim Procedure. Distributions to any class of creditor will only
be made on account of Allowed Claims. In the event that distributions are made at a
time that a claim objection is pending before the Court or a judgment has entered to
establish a Claim and the judgment is not subject to a Final Order, the portion of the
distribution that would be paid to the disputed claimant will be held in an interest
bearing bank account until the Claim is Allowed or disallowed If Allowed, the Claim
will be paid its appropriate share of the withheld payment. If disallowed, the withheld
distribution will be paid on a Pro Rata basis to the remaining impaired Allowed
claimants, or if all holders of Allowed Claims have been paid in full, paid to Debtor.

9.6 - Claims and Litigation Bar Date and Standing. All Claim objections and
Avoidance Actions in the case must be filed no later than 60 days following the
Effective Date. The Debtor shall have standing to commence, prosecute, and settle
claim objections, Litigation, and avoidance actions without need for Court approval

9.7 - Administrative Expense Bar Date. All applications for allowance and
payment of Administrative Claims, including Professional Fees, must be filed within 45
days following the Confirmation Date.

9.8 - Monthly Installments. Whenever the Plan provides for payment in
monthly installments or a payment due in a certain month, the payment shall be due on
the last day of the calendar month in which the payment is due, unless otherwise

specified in the Plan. The Debtor shall then have a five day grace period within which

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the monthly payment must be received by the payee before the Debtor shall be in
default.

9.9 - Final Decree. 'l`he Debtor will request entry of a final decree closing the
case on or before the later of the date all Claim objections and any pending litigation is
concluded or 180 days after the Effective Date ofthe Plan.

9.lO - Quarterly Fees. Prior to the entry of the final decree, the Debtor shall
continue to remit quarterly fees and post-confirmation reports to the United States
Trustee, as required by statute.

9.11 - Exemption from Transfer Taxes. Pursuant to Section ll46(c) of the
Code, the issuance, transfer, or exchange of notes or equity securities under the Plan by
the Debtor, the creation of any mortgage, deed of trust, or other security interest, the
making or assignment of any lease or the making or delivery of any deed or instrument
of transfer under, in furtherance of, or in connection with the Plan or the Agreements
shall not be subject to any stamp, real estate transfer, mortgage recording, or other
similar tax.

9.12 ~ Contractual Relationship. The Plan, upon confirmation, constitutes a
new contractual relationship by and between the Debtor and its creditors In the event
ofa default by the Debtor under the Plan, creditors shall be entitled to enforce all rights
and remedies against the Debtor for breach of contract, the Plan. Any secured creditor
claiming a breach ofthe Plan by the Debtor will be able to enforce all ofits rights and
remedies including foreclosure of its deed of trust, security agreement, lien, or
mortgage pursuant to the terms of such document. Any creditor claiming a breach by
the Debtor must provide written notice to the Debtor of the claimed default, the notice
must provide the Debtor a ten (10) day period within which to cure the claimed default.
Upon the Debtor’s failure to cure the default within such ten day period, the creditor
may proceed to exercise their rights and remedies

9.13 ~ Issuance of New Shares. In the event Class 5 votes to reject the Plan, on
the Effective Date of the Plan, new shares of the Debtor’s common stock (“New
Shares”) shall be issued on a pro-rata basis to Class 5 creditors that elect to accept stock
in the Debtor in exchange for such claimant’s Allowed Claim. Shares shall be allocated

to those electing parties, on a pro-rata basis, based upon the amount of their Class 5

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Allowed Claim. Election to accept shares must be made in writing by request to the

Debtor or Debtor’s counsel prior to the confirmation hearing.

ARTICLE X
EXECUTORY CONTRACTS AND UNEXPIRED LEASES

10.1 - On the Effective Date of the Plan, the Debtor does hereby assume those
executory contracts and unexpired leases listed in Exhibit A attached hereto and
incorporated herein by reference, which have not been assumed by prior Order of the
Court prior to the Confirmation Date. On the date of the entry of an Order confirming
the Plan, the Debtor"shall be the holder of all right, title and interest to the assumed
leases and contracts and such assumed leases and contracts shall be in full effect and
binding upon the Debtor and the other parties thereto. Confirmation of the Plan shall
constitute a determination that the payments to be made to said creditors pursuant to the
Plan Satisfy all conditions precedent to assumption and assignment set forth in ll
U.s.c. §365(b) and (r). `

10.2 - On the Effective Date of the Plan, the Debtor will reject all executory
contracts and unexpired leases to which it is a party which are listed in Exhibit B,
attached hereto and incorporated herein by reference which have not been rejected by
prior Order of the Bankruptcy Court prior to the Confirmation Date. Executory
contracts and unexpired leases will be rejected pursuant to the provisions of 11 U.S.C.
§365. Any executory contract or unexpired lease not assumed in accordance with the
Plan shall be rejected

10.3 - An Order confirming this Plan constitutes approval by the Court of the
assumption or rejection of the executory contracts and unexpired leases described
herein in accordance with the provisions of 11 U.S.C. §365 and the Rules.

10.4 - Claims Arising from Rejection. The Debtor is rejecting all executory contracts
and unexpired leases previously rejected by Court Order, subject to a pending motion to reject,
or not specifically assumed in accordance with the Plan. Proofs of Claim with respect to Claims
arising from the rejection of any other executory contract or unexpired lease shall be filed with
the Court within twenty (20) days after the later of (i) the date of the Court order approving the

Debtor’s rejection of such executory contract or unexpired lease or (ii) the Confirmation Date.

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ARTICLE XI
MISCELLANEOUS PROVISIONS
11.1 Revestment. The entry of an Order confirming this Plan Shall revest in
the Debtor all property of the estate free and clear of all liens except those specifically
set forth in the Plan or as otherwise provided in the Plan.
11.2 Retention of Jurisdiction. Notwithstanding confirmation of the Plan, the
Court shall retain jurisdiction for the following purposes:

1. Determination of the allowability of claims upon objection to such claims
by the debtor-in-possession or by any other party in interest;

2. Determination of the request for payment of claims entitled to priority
under 11 U.S.C. Section 507(a)(2), including compensation of the parties
entitled thereto;

Resolution of any disputes regarding interpretation ofthe Plan;

4. Implementation of the provisions of the Plan and entry of orders in aid of
consummation of the Plan, including without limitation, appropriate
orders to protect the revested Debtor from action by creditors;

5. Modification ofthe Plan pursuant to 11 U.S.C. Section 1127;

6. Adjudication of any causes of action, including avoiding powers actions,
brought by the debtor-in-possession, by the representative of the estate or
by a trustee appointed pursuant to the Code;

7. Adjudication of any cause of action brought by the debtor-in-possession,
creditors committee, by a representative of the estate, or by a trustee
appointed pursuant to the Code, or the revested Debtor exercising rights
and powers as provided in ll U.S.C. Section 542-549. This section Shall
not be construed to limit any other power or right which the Debtor may
possess under any section of the Code; and

8. Entry of a final decree.

11.3 - Satisfaction of Claims. The Debtor shall receive a discharge on the

confirmation date pursuant to Section 1141(d). Confirmation ofthe Plan shall constitute

a modification of any note or obligation for which specification and treatment is

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provided under the Plan as set forth in the Plan. Any obligation or note, previously in
default, so modified, shall be cured as modified as of the Confirrnation Date. This
provision shall be operable regardless of whether the Plan provides for any obligation
to be evidenced by a rewritten loan or security document following confirmation of the
Plan.

11.4 Headings. The headings used in the Plan are for convenience of reference
only and shall not limit or in any manner affect the meaning or interpretation of the
Plan

11.5 Notices. All notices, requests, demands, or other communications
required or permitted in this Plan must be given in writing to the party(ies) to be
notified. All communications will be deemed delivered when received at the following
addresses: n

a. To:
Peak ‘N Prairie Landscape & Reclamation, Inc.
Attention: Peter Young
11965 Tower Road
Commerce City, Colorado 80037.

With a copy to:

Lee M. Kutner

Kutner Miller Brinen, P.C.

303 Easr iv‘h Avenue, suite 500
Denver, CO 80203

Tel: 303-832-2418

Fax: 303-832-1510
Email:lmk@kutnerlaw.com

b. To an allowed claimant, at the addresses set forth in the allowed
Proof of Claim, if filed, other, at the address set forth for the
claimant in the Debtor’s Schedules filed with the Court.

11.6 - Successors and Assigns. The Plan will be binding upon the Debtor, any
creditor affected by the Plan and their heirs, successors, assigns and legal
representatives

11.7 - Unclaimed Payments. If a person or entity entitled to receive a payment
or distribution pursuant to this Plan fails to negotiate a check, accept a distribution or

leave a forwarding address in the event notice cannot be provided as set forth in

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paragraph 11.5, within one (1) year of the Effective Date of the Plan, the person or
entity is deemed to have released and abandoned any right to payment or distribution
under the Plan.

11.8 - Committee Termination. Any Creditors Committee appointed in the
bankruptcy case shall terminate on the date the Court enters a Final Decree pursuant to
Section 350(a) of the Bankruptcy Code, or at such earlier date as the Creditors
Committee deems appropriate

11.9 - Liability. Except as set forth in this Plan, neither the Debtor, any
Committee appointed nor any of their agents, managers, representatives, attorneys,
accountants or advisors shall have or incur any liability for any past, present or future
actions taken or omitted to be taken under, in connection with, related to, affecting or
arising out of the bankruptcy case or this Plan except for claims based on gross

negligence or willful misconduct

ARTICLE XII
CONFIRMATION REQUEST
12.1 - The Debtor, as proponent of the Plan, requests confirmation of the Plan
pursuant to 11 U.S.C. §1129. The Debtor will solicit acceptance of the Plan after its
Disclosure Statement has been approved by the Court and is transmitted to the creditors,
interest holders and parties in interest. In the event the Debtor does not obtain the
necessary acceptances ofits Plan, it may make application to the Court for confirmation
of the Plan pursuant to 11 U.S.C. §1129(b). The Court may confirm the Plan if it does
not discriminate unfairly and is fair and equitable with respect to each class of Claims

or lnterests that is impaired and has not voted to accept the Plan.

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'l`clephone: 303- 832-2400

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EXHIBIT A

Executory Contracts and Unexpired Leases Assumed
1. All contracts and leases previously assumed or for which a motion to

assume is pending.

2. All leases and contracts that are not specifically rej ected.

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EXHIBIT B

Executory Contracts and Unexpired Leases Rejected

A. All leases and contracts previously rejected by Court Order.

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Exhibit C

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

The Honorable Michael E. Romero

In re: )
)
PEAK N’ PRAIRIE LANDSCAPE & ) Case No. 12-10321
RECLAMATION, lNC. ) Chapter 11 Bankruptcy
Debtor. )
)

 

STIPULATION TO AMEND CASH COLLATERAL AGREEMENT AND FOR
ADEQUATE PROTECTION

COME NOW the Debtor,' PEAK N’ FRAI]RIE LANDSCAPE &
RECLA_MATION, INC., and the Creditor, WELLS FARGO BANK, NATIONAL
ASSOCIATION (“Wells Fargo”) by and through their undersigned attomeys, and enter
into this Stipulation to Amend Cash Collateral Agreement and for Adequate Protection as

follows:

A. The Debtor filed for relief under Chapter 11 of Title ll of the Bankruptcy
Code on Ianuary 9, 2012 (the “Petit.ion Date”) and remains a Debtor-in-Possession.

B. The Debtor continues in possession of its property and is operating and
managing its businesses as debtor-in-possession pursuant to 11 U.S.C. §§ 1107 and 1108.

C. On or about May 7 , 2007, the Debtor entered into a Loan Agreement with
Wells Fargo. The loan was originally in the amount of $175,000.00, and the current
Outstanding principal balance is $170,083.58 (the “Loan”). The Debtor granted Wells
Fargo alien on certain personal property pursuant to a Commercial Secun`ty Agreernent
which encumbers certain inventory, equipment, accounts, and general intangibles The
lien is perfected by a UCC-l financing statement

D. The Debtor generates income on a monthly basis from landscaping
services provided to residential and commercial customers All of the Debtor’s cash and
receivables now in existence or generated after the petition date constitute cash collateral
in which Wells Fargo holds an interest within the meaning of ll U.S.C. § 363(a) (the

“Cash Collateral”).

E. The Debtor requires the use of the Casli Collateral to operate in the
ordinary course of business

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F. Wells Fargo and the Debtor previously agreed to the Debtor’s use of the
Cash Collateral as set forth in the Cash Collateral Agreement signed on February 13,
2012, and approved by the Court by Order dated March 16, 2012 (Docket No, 57).
Debtor has been making monthly adequate protection payments in the amount of
$1,098.46 as set forth in the Cash Collateral Agreement. Wells Fargo and the Debtor
have since had further discussions regarding continued use of the Cash Collateral and
proposed Plan treatment for Wells Fargo, and have agreed to modify the terms set forth in

the Cash Collateral Agreement.

G. Accordingly, the parties hereby stipulate and agree as follows:

l. Acknowledgement. Debtor acknowledges and agrees that as of July 3,
2012, it is indebted to Wells Fargo on the Loan in the outstanding principal amount of
$170,083.58, plus accrued interest in the amount of $28,559.87, plus attorney fees and
costs incurred by Wells Fargo in its efforts to enforce the terms of the Loan in the amount
of $30,000.00, for a current total of $228,643.45 (the “Outstanding Obligation”).

2. Interest Rate. The Loan has been accruing interest at the non-default rate
of 7.75% per annum. From Au gust 1, 2012, the interest rate for the remaining term of the
Loan shall be fixed at 6.00% per annuln. In the event of a future default by Debtor under
the Loan, the Loan will be Subject to a default rate of 10.00% per annum. In addition, in
the event of default, Wells Fargo shall be entitled to reasonable attorney fees and costs

incurred the enforcement of this Stipulation.

3. Payments. The term of the Loan will be modified to mean that the
Loan Will mature on August 1, 2015. In consideration of Wells Fargo’s consent to the
Debtor’s continued use of Cash Collateral in the ordinary course of the Debtor’s business,
the Debtor agrees to make increased adequate protection payments to Wells Fargo in the
amount of $3,840.33 per month, (“lncreased Adequate Protection Payrnents”), with the
first such payment to be made on August 15, 2012, and subsequent payments to be made
by the 15t of each month thereafter with all unpaid principal, interest attorney fees and
other collection costs due on or before Au gust 15, 2015 . Payments shall be made payable
to Wells Fargo Bank, N.A., and delivered to David C. Walker, Esq. at Brown, Berardini
& Dunning, P.C., 2000 S. Colorado Blvd., Tower 2, Suite 700, Denver, CO 80222.

4. Chapter 11 Plan. Debtor’s Chapter ll Plan shall incorporate the
foregoing terms as its treatment for Wells Fargo’s claim. Within ten (10) days of
confirmation of Debtor’s Chapter 11 Plan, Debtor agrees to execute any and all
documents deemed reasonably necessary by Wells Fargo to evidence the modification of

the Loan as set forth herein.

5. Notice of Default. In addition to Wells Fargo’s remedies under the
loan documents evidencing or securing the Loan, as modified, in the event that Debtor
fails to make any payment when due, Wells Fargo will send written notice to Debtor and
Debtor’s counsel by email and by first class U.S. mail, and such written notice shall
provide Debtor with a ten (10) day right to cure such default

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6. Authorization to Use Cash Collateral. Wells Fargo consents to the
Debtor’s continued use of Cash Collateral in the ordinary course of the Debtor’s business
The Debtor is authorized, pursuant to § 363 of the United States Bankruptcy Code and
the terms and conditions of this Agreement, to receive, collect and use Cash Collateral

under § 363 of the United States Bankruptcy Code.

'/'. Use of Cash Collateral. Subject to the terms and conditions of this
Agreement, the Debtor shall use Cash Collateral only for the reasonable and necessary
expenses incurred in the operation of the Debtor’s business as specifically set forth in
Exhibit “A” attached hereto, and shall not deviate more than 15% from any line item
expense without the prior agreement of Wells Fargo. The Debtor may use Cash Collateral
in order to pay expenses incurred by the Debtor post-petition, including administrative

expenses in the bankruptcy case.

8. Financial Reportinvt . The Debtor shall provide to Wells Fargo a complete
accounting, on a monthly basis, of all expenditures collections and generation of new

receivables as well as copies of all financial reports filed with the Offrce of the United
States Trustee.

9. Acknowled gment of Secun`g. The security interest and lien held by

Wells Fargo in the Cash Collateral and granted herein are hereby deemed valid,
enforceable and perfected without any further action by Wells Fargo.

10. Grant of Post-Petition Security lnterest. The Debtor hereby grants to

Wells Fargo a lien and security interest in all inventory, equipment accounts and general
intangibles generated by the Debtor post-petition. The lien granted herein is provided to
the extent that the bankruptcy stay or the Debtor’s use of the Cash Collateral results in a
decrease in the value of Wells Fargo’s interest in such property

ll. Binding Effect. All terms and provisions of this Agreernent,
including but not limited to, the security interest and liens granted herein, and the priority
established hereby, shall be binding orr the Debtor and any subsequently appointed

Trustee under either Chapter 7 or 11 of the Bankruptcy Code.

12. Delive;y of Pleadings. The Debtor agrees to deliver to Wells Fargo
or its counsel, in addition to items required by Bankruptcy Rule 2002 and Orders of the

Bankruptcy Court, copies of all operating reports Statement of Financial Affairs and
Schedules and all other pleadings filed with the Bankruptcy Court by the Debtor.

13. Prohibition of §364gd) Liens. The Debtor shall not create, permit assume

or suffer to exist any lien or security interest in favor of any person or entity other than
Wells Pargo against the Cash Collareral which takes priority or equal position to the liens
held by Wells Fargo pursuant to § 364(d) of the Bankruptcy Code, except liens and
security interests expressly consented to in advance, in writing, by Wells Fargo or unless

otherwise authorized by the Bankruptcy Court.

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14. inspection The Debtor agrees that Wells Fargo or any of its
representatives shall be permitted to inspect, examine and copy any books and records
and operations of the Debtor relating to its ongoing business Such inspections and
document productions may take place at the Debtor’s premises or such other place as the
books and records may be located or business conducted upon reasonable written notice

provided by Wells Fargo to the Debtor.

15. Default.
a. Default under this Agreement shall include the following: (each, a
“Default”):

i. Failure to timely pay any of the Adequate Protection
Payments;

ii. Failure to deposit all cash receipts in the Debtor-in-

Possession account, or as otherwise ordered by the

Bankruptcy Court;

Pailure to comply with any other term or condition of this

Agreement, including, but not limited to, the reporting of

information provided under this Agreement;

The conversion of the bankruptcy case to a case under

Chapter 7;

The appointment of a rl`rustee in the bankruptcy case; and

The failure of the Debtor to maintain insurance on the

Wells Fargo collateral, as required by the underlying loan

documents

iii.
iv.

vi.

b. Remedies. If the Debtor fails to timely make an Adequate
Protection Payment, or if any other Default occurs, then the Debtor shall have three (3)
business days after written notice thereof to the Debtor by Wells Fargo, such default shall
constitute an “Event of Default”. Upon the occurrence of an Event of Default, Wells
Fargo’s consent to the use of Cash Collateral shall automatically be deemed withdrawn

and terminated without further Court Order.

16. Survival. Notwithstanding the expiration of the Debtor’s right to use
Cash Collateral hereunder, or any Default by the Debtor causing its earlier termination of
the use of Cash Collateral, the rights, security interests, liens, priorities and adequate
protection provided tn Wells Fargo pursuant to the terms of this Agreement shall, in any

and all events, survive and continue in full force and effect

17. Notices Any and all notices, pleadings or filings required to be
provided under this Agreernent shall be provided in writing by U.S. First Class Mail,
electronic mail or overnight delivery service, as follows:

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If to the Debtor:

Peak ‘N Prairie Landscape & Reclamation, Inc.

P.O. Box 37
Commerce City, CO 80037

With a copy to:

lee M. Kumer, Esq.

303 E. 17'*‘ Avenue, suite 500
Denver, CO 80203
LMK@kutnerlaw.com

 

If to the U.S. Trustee:

Jalrod Martin, Esq.
999-18‘*‘ sheet suite 1551
Denver, CO 80202

Jarrod.Martin@usdoi.gov

lf to Wells Fargo:

Wells Fargo Bank, National Association
Attn: Ms. Tracy Harding

Credit Management Group

1740 Broadway

MAC: C7300-079

Denver, CO 80274
Tracy.harding@wellsfarszo.com

With a copy to:

David C. Walker, Esq.

Brown, Berardini & Dunning, P.C.
2000 South Colorado Blvd.
Tower Two, Suite 700

Denver, CO 80222
dwalker@bbdfu'm.com

18. No Waiver. The Debtor agrees that this Agreement is not intended nor
shall it be construed to be a waiver or limitation in any Way by Wells Fargo of any rights
or remedies under the Bankruptcy Code or other applicable law which it has or may have,
includjng, but not limited to, the right of Wells Fargo to request relief from the automatic

stay under § 362 of the Bankruptcy Code.

 

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19_ Insurance. The Debtor shall maintain and keep in full force and effect
all insurance required under the underlying loan documents

20. Amendment. This Agreement shall not be amended, modified or
supplemented except by written agreement executed by the parties hereto.

21. Counte@art. This Agreement may be executed by each party in identical
counterparts, each of which shall be deemed to be an original and all of which, taken

together, shall constitute one Agreement, binding upon all parties

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lee M. Kutner, Reg. No. 10966
303 E. 17‘*' Avenue, suite 500
Denver, CO 80203

Telephone: 303-832-2400

 

LM_K @l<utnerlaw.com
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DATED this 55 §y of,tuiyeotz.

BROWN, BERARD]NI & DUNN]NG, P.C.

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Association

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Denver, Colorado 80222

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